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    9                      UNITED STATES DISTRICT COURT
   10                    CENTRAL DISTRICT OF CALIFORNIA
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   12                                        Case No. 8:19-cv-01257-JFW-PJWx
        BRYCE ABBINK,
   13                                        Hon. John F. Walter
                      Plaintiffs,
   14                                        [PROPOSED] ORDER GRANTING
             v.                              JOINT STIPULATION TO
   15                                        CONTINUE HEARING RE:
        EXPERIAN INFORMATION                 DEFENDANT EXPERIAN
   16   SOLUTIONS, INC., et al.,             INFORMATION SOLUTIONS,
                      Defendants.            INC.’S MOTION TO DISMISS
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                                             Complaint filed: June 21, 2019
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                                                          PROPOSED ORDER GRANTING STIP.
                                                                   RE: MOTION TO DISMISS
                                                             Case No. 8:19-cv-01257-JFW-PJWx
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    1           The Court, having considered the stipulation of Plaintiff Bryce Abbink
    2   (“Plaintiff”) and Defendant Experian Information Solutions, Inc. (“Experian”) to
    3   continue the hearing on Experian’s Motion to Dismiss, the declaration of Taylor T.
    4   Smith in support of the stipulation, and for good cause appearing, hereby orders
    5   that the hearing on Experian’s Motion to Dismiss is continued until September 23,
    6   2019.
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    8   IT IS SO ORDERED.
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        Date: ___________________            ______________________________
                                             Hon. John F. Walter
   11                                        United States District Judge
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   28                                                         PROPOSED ORDER GRANTING STIP.
                                                                       RE: MOTION TO DISMISS
                                              -2-                Case No. 8:19-cv-01257-JFW-PJWx
